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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                     )
 In re:                                              )   Chapter 11
                                                     )
 YELLOW CORPORATION, et al.,1                        )   Case No. 23-11069 (CTG)
                                                     )
                                Debtors.             )   (Jointly Administered)
                                                     )
                                                     )   Re: Docket No. 1712

 AMENDED2 NOTICE OF AGENDA FOR HEARING SCHEDULED ON JANUARY 12,
  2024 AT 2:00 P.M. (PREVAILING EASTERN TIME), BEFORE THE HONORABLE
  CRAIG T. GOLDBLATT AT THE UNITED STATES BANKRUPTCY COURT FOR
  THE DISTRICT OF DELAWARE, LOCATED AT 824 NORTH MARKET STREET,
       3RD FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801


   This proceeding will be conducted in-person. All counsel and witnesses are expected to
  attend unless permitted to appear remotely via Zoom. Please refer to Judge Goldblatt’s
  Chambers Procedures https://ecf.deb.uscourts.gov/cgi-bin/nysbAppearances.pl or on the
   Court’s website at and the Court’s website www.deb.uscourts.gov for information on
    who may participate remotely, the method of allowed participation (video or audio),
    Judge Goldblatt’s expectations of remote participants, and the advance registration
    requirements. Registration is required by 4:00 p.m. (Eastern time) the business day
  before the hearing unless otherwise noticed using the eCourtAppearances tool available
                                  on the Court’s website.



SALE MOTION MATTER:

1.        Motion of the Debtors for Entry of an Order (I)(A) Approving Bidding Procedures for the
          Sale or Sales of the Debtors’ Assets; (B) Scheduling an Auction and Approving the Form
          and Manner of Notice Thereof; (C) Approving Assumption and Assignment Procedures,
          (D) Scheduling a Sale Hearing and Approving the Form and Manner of Notice Thereof;
          (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear of Liens, Claims, Interests
          and Encumbrances and (B) Approving the Assumption and Assignment of Executory



1 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
  claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place
  of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
  Overland Park, Kansas 66211.
2 Amended items are in bold.




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         Contracts and Unexpired Leases; and (III) Granting Related Relief [Filed: 8/7/23] (Docket
         No. 22)

         Sale Objection Deadline: January 5, 2024 at 5:00 p.m. (ET)

         Cure/Assumption and Assignment Objections Deadline: November 9, 2023, at 4:00 p.m.
         (ET)

         Cure/Assumption and Assignment Objections Received:

         A.        Non-Rolling Stock Assets Cure Objection of Freight Line Properties, LLC
                   [Filed:10/30/23] (Docket No. 990)

         B.        Objection of B & W Investments to Notice of Potential Assumption or Assumption
                   and Assignment of Certain Contracts or Leases Associated with the Non-Rolling
                   Stock Assets [Filed: 11/2/23] (Docket No. 1025)

         C.        Objection and Reservation of Rights to the Debtors' Notice of Potential Assumption
                   or Assumption and Assignment of Certain Contracts or Leases Associated with the
                   Non-Rolling Stock Assets [Filed: 11/3/23] (Docket No. 1033)

         D.        Objection of Reimer World Properties Corp. and RWP Manitoba Ltd. to Notice of
                   Potential Assumption or Assumption and Assignment of Certain Contracts or
                   Leases Associated with the Non-Rolling Stock Assets [Filed: 11/8/23] (Docket No.
                   1063)

         E.        Objection of MG Fishersville I, LLC to Notice of Potential Assumption or
                   Assumption and Assignment of Certain Contracts or Leases Associated With the
                   Non-Rolling Stock Assets [Filed: 11/8/23] (Docket No. 1071)

         F.        Objection of 1313 Grand Street Realty, LLC to Notice of Potential Assumption or
                   Assumption and Assignment of Certain Contracts or Leases Associated with the
                   Non-Rolling Stock Assets [Filed: 11/8/23] (Docket No. 1072)

         G.        Objection of A. Duie Pyle, Inc. to Notice of Potential Assumption or Assumption
                   and Assignment of Certain Contracts or Leases Associated with the Non-Rolling
                   Stock Assets [Filed: 11/8/23] (Docket No. 1074)

         H.        Objection of Terreno Clawiter LLC and Terreno Dell LLC to Notice of Potential
                   Assumption or Assignment of Certain Contracts and Leases Associated with the
                   Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No. 1086)

                   i.           Exhibit 1 to the Objection of Terreno Clawiter LLC and Terreno Dell LLC
                                to Notice of Potential Assumption or Assignment of Certain Contracts and
                                Leases Associated with the Non-Rolling Stock Assets [Filed: 11/9/23]
                                (Docket No. 1101)




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         I.        Crown Enterprises, Inc.'s, Crown Enterprises, LLC's, and Dauntless ULC's (A/K/A
                   Crown Enterprises) Objection to Notice of Potential Assumption and Assignment
                   of Certain Contracts or Leases Associated with the Non-Rolling Stock Assets
                   [Filed: 11/9/23] (Docket No. 1087)

         J.        Objection of Fazio TV, LLC, Mary A. Fazio Limited Partnership I, and Fazio
                   Faloma Properties LLC To Notice of Potential Assumption or Assumption and
                   Assignment of Certain Contracts or Leases Associated With the Non-Rolling Stock
                   Assets [Filed: 11/9/23] (Docket No. 1090)

         K.        Limited Objection of 445 Hollywood Avenue LLC to Notice of Potential
                   Assumption or Assumption and Assignment of Certain Contracts or Leases
                   Associated with the Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No. 1091)

         L.        Objection of Kestrel Crossdock, LLC to Notice of Potential Assumption or
                   Assumption and Assignment of Certain Contracts or Leases Associated With the
                   Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No. 1092)

         M.        Hawkey Transportation, Inc's Objection to Proposed Cure Amounts in Notice of
                   Potential Assumption or Assumption and Assignment of Certain Contracts or
                   Leases Associated with the Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No.
                   1094)

                   i.           Declaration of Mike Hawkey in Support of Hawkey Transportation, Inc's
                                Objection to Proposed Cure Amounts in Notice of Potential Assumption or
                                Assumption and Assignment of Certain Contracts or Leases Associated
                                with the Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No. 1097)

                   ii.          Declaration of Garrett S. Eggen in Support of Hawkey Transportation, Inc's
                                Objection to Proposed Cure Amounts in Notice of Potential Assumption or
                                Assumption and Assignment of Certain Contracts or Leases Associated
                                with the Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No. 1098)

         N.        Limited Objection of 181 W. Johnson Holding LLC and 181 W. Johnson Holding
                   II LLC to Debtors' Notice of Potential Assumption or Assumption and Assignment
                   of Certain Contracts or Leases Associated with the Non-Rolling Stock Assets
                   [Filed: 11/9/23] (Docket No. 1095)

         O.        Objection of Link Logistics Real Estate Management LLC, BREIT Industrial
                   Canyon GA1B01 LLC, GPT Elkridge Terminal Owner LLC, GPT Deer Park
                   Terminal Owner LLC, and GPT Orlando Terminal Owner LLC, to Debtors' Notice
                   of Potential Assumption or Assumption and Assignment of Certain Contracts or
                   Leases Associated with the Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No.
                   1096)

                   i.           Supplement to Objection of Link Logistics Real Estate Management LLC,
                                BREIT Industrial Canyon GA1B01 LLC, GPT Elkridge Terminal Owner
                                LLC, GPT Deer Park Terminal Owner LLC, and GPT Orlando Terminal

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                                Owner LLC, to Debtors' Notice of Potential Assumption or Assumption and
                                Assignment of Certain Contracts or Leases Associated with the Non-
                                Rolling Stock Assets [Filed: 12/15/23] (Docket No. 1376)

         P.        Limited Objections of USHOLL (MI) LLC to Debtors' Notice of Assumption or
                   Assumption and Assignment of Certain Contracts or Leases Associated with the
                   Non-Rolling Stock Assets Regarding Proposed Cure Amount and Adequate
                   Assurance of Future Performance [Filed: 11/9/23] (Docket No. 1099)

         Q.        Objection and Reservation of Rights to Debtors' Notice of Potential Assumption or
                   Assumption and Assignment of Certain Contracts or Leases Associated with the
                   Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No. 1100)

         R.        Objection of MAD Acquisitions, LLC to Notice of Potential Assumption or
                   Assumption and Assignment of Certain Contracts or Leases Associated With the
                   Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No. 1103)

         S.        Response and Reservation of Rights of Exol Properties, L.L.C. and Orange Batavia
                   I LLC to Debtors Notice of Potential Assumption or Assumption and Assignment
                   of Certain Contracts or Leases Associated with the Non-Rolling Stock Assets
                   [Filed: 11/9/23] (Docket No. 1104)

         T.        Objection and Reservation of Rights of Fifty Second Avenue Associates, Inc. to the
                   Notice of Notice of Potential Assumption or Assumption and Assignment of
                   Certain Contracts or Leases Associated with the Non-Rolling Stock Assets [Filed:
                   11/9/23] (Docket No. 1105)

         U.        Objection and Reservation of Rights of Creditor Old Republic Insurance Company
                   to Motions for Relief from the Automatic Stay to the Extent of Insurance Proceeds
                   [Filed: 11/9/23] (Docket No. 1106)

         V.        Objection of Exeter 1619 N. Plaza, LLC to Notice of Potential Assumption or
                   Assumption and Assignment of Certain Contracts or Leases Associated With the
                   Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No. 1107)

         W.        Aloha Dwell Wise, LLC, Dwell Wise LP, and Dwell Best, LLC’s Limited
                   Objection to Notice of Potential Assumption or Assumption and Assignment of
                   Certain Contracts or Leases Associated With the Non-Rolling Stock Assets [Filed:
                   11/9/23] (Docket No. 1108)

         X.        Objection and Reservation of Rights of Edinburgh Logistics Assets LLC [Filed:
                   11/9/23] (Docket No. 1109)

         Y.        Objection and Reservation of Rights of Finlayson Logistics Assets LLC [Filed:
                   11/9/23] (Docket No. 1110)

         Z.        Objection and Reservation of Rights of M4 Terminals, LLC to the Debtors' Notice
                   of Potential Assumption or Assumption and Assignment of Certain Contracts or

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                   Leases Associated With the Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No.
                   1112)

         AA.       Objection of Southeastern Freight Lines to the Debtors' Notice of Potential
                   Assumption or Assumption and Assignment of Certain Contracts or Leases
                   Associated with the Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No. 1113)

         BB.       Objection and Reservation of Rights of Prologis USLV SubREIT 2, LLC, Prologis
                   Targeted U.S. Logistics Fund, L.P., Prologis, L.P., DCT Peoria Street LLC, DCT
                   Eck Hoff Street LLC, and Prologis USLV SubREIT 4, LLC to the Debtors' Notice
                   of Potential Assumption or Assumption and Assignment of Certain Contracts or
                   Leases Associated with the Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No.
                   1114)

         CC.       Objection and Reservation of Rights to the Debtors Notice of Potential Assumption
                   or Assumption and Assignment of Certain Contracts or Leases Associated with the
                   Non-Rolling Stock Assets [Filed: 11/16/23] (Docket No. 1161)

         DD.       Objection of 1313 Grand Street Realty, LLC to (A) the Proposed Sale Order and
                   Assumption and Assignment of Lease; (B) Cure Costs Proposed in Connection with
                   the Assignment of Lease; and (C) Proposed Adequate Assurance of Future
                   Performance [Filed: 12/8/23] (Docket No. 1304)

         EE.       Reservation or Rights Regarding Conduct of Auction [Filed: 12/18/23] (Docket No.
                   1397)

         FF.       Limited Objection of Orange Batavia I LLC to Proposed Assumption and
                   Assignment of Unexpired Real Property Lease [Filed: 1//24] (Docket No. 1623)

         GG.       Objection of Southeastern Freight Lines to the Debtors' Notice of Potential
                   Assumption or Assumption and Assignment of Certain Contracts or Leases
                   Associated with the Non-Rolling Stock Assets [Filed: 1/8/24] (Docket No. 1663)

         HH.       Amended Objection and Reservation of Rights of M4 Terminals, LLC to the
                   Debtors' Notice of Potential Assumption or Assumption and Assignment of Certain
                   Contracts or Leases Associated With the Non-Rolling Stock Assets [Docket No.
                   1/9/24] (Docket No. 1695)

         Related Documents:

         A.        Declaration of Cody Leung Kaldenberg In Support of The Debtors' Motion for
                   Entry of an Order (I)(A) Approving Bidding Procedures for the Sale or Sales of the
                   Debtors' Assets; (B) Scheduling Auctions and Approving the Form and Manner of
                   Notice Thereof; (C) Approving Assumption and Assignment Procedures, (D)
                   Scheduling Sale Hearings and Approving the Form and Manner of Notice Thereof;
                   (II)(A) Approving the Sale of the Debtors' Assets Free and Clear of Liens, Claims,
                   Interests and Encumbrances and (B) Approving the Assumption and Assignment


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                   of Executory Contracts and Unexpired Leases; and (III) Granting Related Relief
                   [Filed: 9/13/23] (Docket No. 515)

         B.        [Signed] Order (I)(A) Approving the Bidding Procedures For the Sale or Sales of
                   the Debtors’ Assets, (B) Scheduling Auctions and Approving the Form and Manner
                   of Notice Thereof; (C) Scheduling Sale Hearings and Approving the Form and
                   Manner of Notice Thereof; (II)(A) Approving the Sale of the Debtors’ Assets Free
                   and Clear of Liens, Claims, Interests and Encumbrances and (B) Approving the
                   Assumption and Assignment of Executory Contracts and Unexpired Leases; and
                   (III) Granting Related Relief [Filed: 9/15/23] (Docket No. 575)

         C.        Notice of Finalized Bidding Procedures [Filed: 9/18/23] (Docket No. 601)

         D.        Notice of Auctions for the Sale of the Debtors’ Assets [Filed: 9/20/23] (Docket No.
                   621)

         E.        Notice of Potential Assumption or Assumption and Assignment of Certain
                   Contracts or Leases Associated With the Rolling Stock [Filed: 10/11/23] (Docket
                   No. 819]

         F.        Amended Notice of Potential Assumption or Assumption and Assignment of
                   Certain Contracts or Leases Associated With the Rolling Stock [Filed: 10/12/23]
                   (Docket No. 824)

         G.        Notice of Rescheduled Bid Deadline, Auction, and Hearing to Approve the Rolling
                   Stock Winning Bidder [Filed: 10/13/23] (Docket No. 834)

         H.        Notice of Cancellation of Rolling Stock Bid Deadline and Rolling Stock Auction
                   [Filed: 10/16/23] (Docket No. 857)

         I.        Notice of Potential Assumption or Assumption and Assignment of Certain
                   Contracts or Leases Associated With the Non-Rolling Stock Assets [Filed:
                   10/26/23] (Docket No. 968)

         J.        Notice of Auction Progress Relating to Real Property Assets, Including Debtors'
                   Intention to File Notice of Winning Bidders Relating to Certain Real Property
                   Assets By December 5, 2023 [Filed: 12/1/23] (Docket No. 1261)

         K.        Notice of Rescheduled Sale Objection Deadline, Adequate Assurance Objection
                   Deadline, and Sale Hearing for Certain of the Debtors' Real Property Assets [Filed:
                   12/4/23] (Docket No. 1267)

         L.        Notice of Winning Bidders and, If Applicable, Back-up Bidders With Respect to
                   Certain of the Debtors' Real Property Assets [Filed: 12/4/23] (Docket No. 1268)

         M.        Notice of Adjournment of Real Estate Auction for Certain Remaining Leased
                   Properties to December 18, 2023 at 9:00 a.m. (ET) [Filed: 12/6/23] (Docket No.
                   1284)

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         N.        Supplemental Declaration in Support of Cody Leung Kaldenberg in Support of
                   Entry of Order (I) Approving Certain Asset Purchase Agreements; (II) Authorizing
                   and Approving Sales of Certain Real Property Assets of the Debtors Free and Clear
                   of Liens, Claims, Interests, and Encumbrances, in Each Case Pursuant to the
                   Applicable Asset Purchase Agreement; (III) Approving the Assumption and
                   Assignment of Certain Executory Contracts and Unexpired Leases in Connection
                   Therewith, in Each Case as Applicable Pursuant to the Applicable Asset Purchase
                   Agreement; and (IV) Granting Related Relief [Filed:12/11/23] (Docket No. 1330)

         O.        Notice of Winning Bidders With Respect to Certain of the Debtors' Leased
                   Properties [Filed: 12/20/23] (Docket No. 1403)

         P.        Notice of Rescheduled Sale Objection Deadline, Adequate Assurance Objection
                   Deadline, and Sale Hearing for Certain of the Debtors' Leased Properties [Filed:
                   12/20/23] (Docket No 1406)

         Q.        Notice of Filing of Proposed Order (I) Approving Certain Asset Purchase
                   Agreements; (II) Authorizing and Approving Sales of Certain Leased Properties of
                   the Debtors Free and Clear of Liens, Claims, Interests, and Encumbrances, in Each
                   Case Pursuant to the Applicable Asset Purchase Agreement; (III) Approving the
                   Assumption and Assignment of Certain Executory Contracts and Unexpired Leases
                   in Connection Therewith, in Each Case as Applicable Pursuant to the Applicable
                   Asset Purchase Agreement; and (IV) Granting Related Relief [Filed: 12/29/23]
                   (Docket No. 1540)

         R.        Notice of Filing of Form of Asset Purchase Agreement Dated as of January 4, 2024
                   Between the Debtors and Estes Express Lines [Filed: 1/4/24] (Docket No. 1599)

         S.        Notice of Filing of Form of Asset Purchase Agreement Between the Debtors and
                   Greenwood Motor Lines, Inc. [Filed: 1/24/24] (Docket No. 1610)

         T.        Notice of Filing of Asset Purchase Agreement Dated as of January 5, 2024 Between
                   the Debtors and Greenwood Motor Lines, Inc. [Filed: 1/5/24] (Docket No. 1625)

         U.        Notice of Filing of Asset Purchase Agreement Dated as of December 30, 2023
                   Between the Debtors and Saia Motor Freight Line, LLC [Filed: 1/2/24]
                   (Docket No. 1560)

         V.        Notice of Filing of Asset Purchase Agreement Dated as of January 2, 2024
                   Between the Debtors and ArcBest Property Management, LLC [Filed: 1/2/24]
                   (Docket No. 1561)

         W.        Notice of Filing of Asset Purchase Agreement Dated as of January 2, 2024
                   Between the Debtors and FedEx Freight, Inc. [Filed: 1/2/24] (Docket No. 1562)

         X.        Notice of Filing of Asset Purchase Agreement Dated as of January 2, 2024
                   Between the Debtors and Knight-Swift Transportation Holdings, Inc. [Filed:
                   1/3/24] (Docket No. 1586)

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         Y.        Declaration of Jon Cremeans in Support of Entry of Order (I) Approving
                   Certain Asset Purchase Agreements; (II) Authorizing and Approving Sales of
                   Certain Leased Properties of the Debtors Free and Clear of Liens, Claims,
                   Interests, and Encumbrances, in Each Case Pursuant to the Applicable Asset
                   Purchase Agreement; (III) Approving the Assumption and Assignment of
                   Certain Executory Contracts and Unexpired Leases in Connection Therewith,
                   in Each Case as Applicable Pursuant to the Applicable Asset Purchase
                   Agreement; and (IV) Granting Related Relief [Filed: 1/11/24] (Docket No.
                   1726)

         Status: This matter will go forward with respect to the sale of 23 of the Debtors’ leased
         real property assets listed in the notice at Docket No. 1403. The relevant cure/sale
         objections related to the leased properties being sold are Docket Nos. 1025, 1033, 1092,
         1100, 1104, 1114, and 1161. The Debtors have resolved the objections of B & W
         Investments [Docket No. 1025], Estes [Docket No. 1033], Kestrel Crossdock, LLC
         [Docket No. 1092], Montgomery Property [Docket No. 1100], Las Vegas Property
         [Docket No. 1114], and Sun Valley Property [Docket No. 1114]. The Debtors continue
         to engage with counsel of the Spokane Property [Docket No. 1100] regarding certain
         cure amounts, but counsel does not object to entry of the Debtors’ requested Sale
         Order.




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Dated: January 11, 2024
       Wilmington, Delaware


/s/ Peter J. Keane
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Timothy P. Cairns (DE Bar No. 4228)      David Seligman, P.C. (admitted pro hac vice)
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                                         Possession




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